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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO.: 19-cv-20509-JAL

  FEDERICA COCCIOLONE, individually and on
  behalf of all others similarly situated,

             Plaintiff,

  v.

  ASSOCIATION LAW GROUP, P.L.,

             Defendant.

  __________________________________/

                              DEFENDANT’S MOTION TO DISMISS COMPLAINT

             COMES NOW Defendant, ASSOCIATION LAW GROUP, P.L. (“ALG”) pursuant to

  Fed. R. Civ. P. 12(b) and S.D. Fla. L.R. 7.1, moves to dismiss Plaintiff Federica Cocciolone’s

  Complaint and states:

        I.         INTRODUCTION

             On February 7, 2019, Plaintiff, a delinquent unit owner of the Bonterra Community

  Association (“Association”), filed the instant lawsuit accusing the law firm, Association Law

  Group (“ALG”) of violating of 15 U.S.C §1692 et seq., the Fair Debt Collection Practices Act

  (“FDCPA”), and Florida Statute §559.551 et seq., the Florida Consumer Collection Practices Act

  in its attempts to collect a valid and owed debt to the Association. See Generally Compl.

             Count I (alleged violations of 15 U.S.C. §§ 1692e, 1692e(2), 1692e(10), 1692f, 1692f(1)

  and 1692g(a)(1) and Count II (alleged violation of Fla. Stat 559.72(9)) should be dismissed for

  failure to state a cause of action upon which relief could be granted. Plaintiff asserts boilerplate

  and conclusory allegations that ALG, a reputable South Florida law firm whose practice heavily


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  centers around representing many condominium and homeowner associations, have committed

  violations amounting to abusive, deceptive and unfair debt collection practices.

               Of these allegations, Plaintiff’s crux of every argument asserted in the Complaint is that

  ALG has no authorization, by an agreement or express statutory authority, to collect any sort of

  collection costs or fees in its collection efforts made on behalf of the Association and that the

  attorneys’ fees reflected within the collection letters are misrepresentations.

               Notwithstanding the fact that this is simply not the case, as a matter law Plaintiff have

  failed state any cause of action upon which relief could be granted.

        II.        THE ALLEGATIONS IN THE COMPLAINT

               The Complaint contains 14 allegations common to all counts. See Compl. ¶¶ 14-27, 36,

  and 41. The Complaint alleges that Defendant must have either express authorization by an

  agreement or express statutory authority to collect any sort of collect costs of fees, and that

  Defendant has neither. Id at ¶ 25. Moreover, Plaintiff alleges that Defendant’s “attorney fees and

  costs” that it attempts to collect on behalf of the Association are not actual costs incurred, nor

  representative of the actual time an attorney placed on Plaintiff’s file. Id at ¶ 26. Plaintiff goes on

  to say that the “attorney fees are hyper-inflated figures with no bearing on the actual time of

  professional legal services rendered or actual costs incurred on the file and charged to the

  Current Creditor”, yet provides zero basis for how Plaintiff is coming to that conclusion or how

  Plaintiff even obtained knowledge of same. Id.

        III.       APPLICABLE MOTION TO DISMISS STANDARD

               To survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to state a claim to relief that is plausible on its face. Bohringer v. Bayview Loan

  Servicing, LLC, 141 F. Supp. 3d 1229, 1231 (S.D. Fla. 2015). Although this pleading standard


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  does not require detailed factual allegations, it demands more than an unadorned, the defendant-

  unlawfully-harmed-me accusation. Id. Pleadings must contain more than labels and conclusions,

  and a formulaic recitation of the elements of a cause of action will not do. Id. Indeed, only a

  complaint that states a plausible claim for relief survives a motion to dismiss. Id. To meet this

  plausibility standard, a plaintiff must plead factual content that allows the court to draw the

  reasonable inference that the defendant is liable for the misconduct alleged. Id. The mere

  possibility the defendant acted unlawfully is insufficient to survive a motion to dismiss Id.

              Under Fed. R. Civ. P. 12(b)(6), a motion to dismiss should be granted only if the plaintiff

  is unable to articulate enough facts to state a claim to relief that is plausible on its face.

  Neptune v. Whetstone Partners, LLC, 34 F. Supp. 3d 1247, 1248 (S.D. Fla. 2014). If allegations

  are indeed more conclusory than factual, then the court does not have to assume their truth. Id

  (emphasis added). In sum, the plausibility standard calls for enough fact to raise a reasonable

  expectation that discovery will reveal evidence' of the defendant's liability. Id.

        IV.        ARGUMENT

              To state a claim under the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C.S. §

  1692 et seq., a plaintiff must plead: (1) the plaintiff has been the object of collection activity

  arising from consumer debt, (2) the defendant is a debt collector as defined by the FDCPA, and

  (3) the defendant has engaged in an act or omission prohibited by the FDCPA. Bohringer v.

  Bayview Loan Servicing, LLC, 141 F. Supp. 3d 1229, 1231 (S.D. Fla. 2015). 15 U.S.C.S. §

  1692e provides that a debt collector may not use any false, deceptive, or misleading

  representation or means in connection with the collection of any debt. Id. Plaintiff has met its

  first two elements by stating that Plaintiff is a consumer pursuant to the FDCPA and that

  Defendant is a debt collector pursuant to the FDCPA, but has utterly failed to meet its burden in


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  pleading acts or omissions that amount to ALG using false, deceptive, or misleading

  representation or means in connection with the collection of any debt. Id; See Also Compl. at ¶¶

  8-13.

             Fed. R. Evid. 201(b) provides for the taking of judicial notice of facts that are not subject

  to reasonable dispute because they are capable of accurate and ready determination by resort to

  sources whose accuracy cannot reasonably be questioned. Bryant v. Avado Brands, Inc., 187

  F.3d 1271, 1273 (11th Cir. 1999). This very Court has held that Condominium Declarations are

  documents that can be accurately and readily determined from sources whose accuracy cannot

  reasonably be questioned allowing the Court to take Judicial Notice of same. See Setai Hotel

  Acq., LLC v. Miami Beach Luxury Rentals, Inc., Civil Action No. 16-21296-Civ-Scola, 2017 U.S.

  Dist. LEXIS 129642, at *20-21 (S.D. Fla. Aug. 15, 2017).

             The Association’s Condominium Declaration was recorded December 30, 2015, in

  Miami-Dade’s public records, long before Plaintiff ever received a collection letter for amounts

  due to the Association. See attached hereto Exhibit A (Declaration) and Exhibit “A” of the

  Compl.           A declaration of condominium strictly governs the relationships among the

  condominium unit owners and the condominium association. Woodside Vill. Condo. Ass'n v.

  McClernan, 806 So. 2d 452, 453 (Fla. 2002). Because condominiums are a creature of statute

  courts must look to the statutory scheme in Fla. Stat. Ch. §§ 718.101-718.622 (2000) as well as

  the condominium declaration and other documents to determine the legal rights of owners and

  the association. Id.

             Section 21 of the Declaration Governing Assessments holds in part:




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             Of the upmost relevance as it pertains the crux of Plaintiff’s entire Complaint, section

  21.19, “Non-Payment of Assessments” holds that, “There shall be added to the Assessment all

  costs expended in preserving the priority of the lien and all costs and expenses of collection,

  including attorneys’ fees and paraprofessional fees, at all levels of proceedings, including

  appeals, collection and bankruptcy. Condo. Dec. Sec. 21.19 (emphasis added). This is to say, the

  lynchpin of Plaintiff Complaint is that ALG does not have express authorization by an agreement

  or express statutory authority to collect any sort of collection costs or fees in relation to the

  subject debt – this is utterly false as it is expressly written in the Condominium Declaration

  which determines the legal rights of the Association and its owners. Woodside Vill. Condo. Ass'n

  v. McClernan, 806 So. 2d 452, 453 (Fla. 2002). The terms expressed in Condominium

  Declaration wholly inoculates any alleged violation of 15 USCS § 1692(f)(1) and Fla. Stat.

  §559.72(9) and therefore should be dismissed with prejudice.

             Likely having already obtained knowledge (constructive or actual) as to the Association’s

  entitlement as to attorneys’ fees and costs incurred in relation to collection of amounts owed to

  the Association by virtue of the publically filed Declaration, Plaintiff attempts to plead an

  equally misplaced alternative argument by alleging pure conclusions as to the itemized potion of

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  the collection letters showing attorneys’ fees and costs. Plaintiff states “attorney fees are hyper-

  inflated figures with no bearing on the actual time of professional legal services rendered or

  actual costs incurred on the file and charged to the Current Creditor”, yet provides zero basis for

  how Plaintiff is coming to that conclusion or how Plaintiff even obtained knowledge of same.

  See Compl. at ¶ 26. Under Fed. R. Civ. P. 12(b)(6), a motion to dismiss should be granted only if

  the plaintiff is unable to articulate enough facts to state a claim to relief that is plausible on its

  face. Neptune v. Whetstone Partners, LLC, 34 F. Supp. 3d 1247, 1248 (S.D. Fla. 2014). Although

  this pleading standard does not require detailed factual allegations, it demands more than an

  unadorned, the defendant-unlawfully-harmed-me accusation. Bohringer v. Bayview Loan

  Servicing, LLC, 141 F. Supp. 3d 1229, 1231 (S.D. Fla. 2015). Plaintiff simply stating, without

  any justification, that the reflected attorneys’ fees and costs are not accurate or used for a specific

  misleading purpose, is just that, an “unadorned” statement that Defendant caused harm. Id.

  Plaintiff relies on this statement to support its causes of action pursuant to 15 USCS § 1692(e) &

  (g), the sections of the FDCPA governing false or misleading representations and accuracy in

  stating the debt owed. ALG simply complied with the FDCPA, by providing an itemized

  category of attorneys’ fees and costs, for which it is entitled, so to avoid a mischaracterization of

  the debt so that a consumer (albeit an unsophisticated one) would not confuse the fees and costs

  with the principal amount.

             Knowing ALG has the authority to include an itemized attorneys’ fees and costs

  provision within its collection letters (pursuant to the Declaration) sent on behalf of the

  Association, and looking at the Complaint, which contains zero basis to conclude that the

  attorneys’ fees and costs provision within its collection letters are anything but accurate, Plaintiff

  has completely failed to meet the third element of establishing a claim under the FDCPA, (3) the


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  defendant has engaged in an act or omission prohibited by the FDCPA. Id. In other words, the

  allegations made in the Complaint are indeed more conclusory than factual, and the court does

  not have to assume their truth Neptune v. Whetstone Partners, LLC, 34 F. Supp. 3d 1247, 1248

  (S.D. Fla. 2014).

             Moreover, as a matter of public policy, in the event Plaintiff’s conclusory allegation

  could survive the instant Motion to Dismiss, cautious and law-abiding debt collectors such ALG

  are subject to being dragged into Federal Court based on allegations that never express the true

  intent of the FDCPA, to give consumers a mechanism to fight back abusive, deceptive, and

  unfair debt collection practices.

        V.         CONCLUSION

             For all the foregoing reasons, Defendant Association Law Group P.L., respectfully

  requests that the Court dismiss Plaintiff’s Complaint in its entirety, and award Defendant such

  further relief as this Court deems just and proper.




                                      [CERTIFICATE OF SERVICE ON NEXT PAGE]




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                                                   CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 12th day of March, 2019, a true and correct copy of

  the foregoing has been furnished by electronic filing with the Clerk of the court via CM/ECF,

  which will send notice of electronic filing to all counsel of record.


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